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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       CRIMINAL NO. 21-CR-720 (RDM)
                                              :
              v.                              :
                                              :
EZEKIEL KURT STECHER,                         :
                                              :
       Defendant.                             :

                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia and counsel for defendant Stecher submit this Joint Status Report to the

Court in the above captioned matter. The parties have reached a non-trial disposition of this

matter and respectfully request that this Court schedule a Plea Hearing in 30 days or whatever

date is consistent with the Court’s calendar.

       Therefore, the parties agree that it is in the interest of justice to continue this matter for a

Plea Hearing, and thus request an exclusion of time under the Speedy Trial Act pursuant to 18

U.S.C. § 3161(h)(7)(A).

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY


                                      By:      /s/ Emory V. Cole
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